Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                                      Desc: Main
                            Document Page 1 of 7



                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF PUERTO RICO

      In re:                                                             PROMESA
      THE FINANCIAL OVERSIGHT AND                                        Title III
      MANAGEMENT BOARD FOR PUERTO RICO,
      as representative of
                                                                         No. 17 BK 3283-LTS
      THE COMMONWEALTH OF PUERTO RICO, et
      al.,                                                               (Jointly Administered)
                                   1
                        Debtors.

                   DECLARATION OF DAVID M. BROWNSTEIN IN RESPECT
                OF CONFIRMATION OF SEVENTH AMENDED TITLE III PLAN OF
                ADJUSTMENT OF COMMONWEALTH OF PUERTO RICO, ET AL.

           I, David M. Brownstein, hereby declare and state as follows:

           1.       I am a Managing Director in the Municipal Finance Department at Citigroup Global

  Markets Inc. (“Citi”). Citi has consistently been ranked as a top underwriter of municipal bonds

  and made commitments in excess of $20 billion to provide both bridge and long-term funding as

  well as credit and liquidity facilities to Citi’s municipal clients.

           2.       The Financial Oversight and Management Board for Puerto Rico (the “Oversight

  Board”), as the Title III representative of the Commonwealth of Puerto Rico (the

  “Commonwealth”), the Employees Retirement System of the Government of the Commonwealth

  of Puerto Rico (“ERS”), the Puerto Rico Public Buildings Authority (“PBA”), the Puerto Rico



  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
      (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
      Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales
      Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
      Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK
      3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of
      the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal
      Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS)
      (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy Case numbers due to
      software limitations).
Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                        Desc: Main
                            Document Page 2 of 7



  Sales Tax Financing Corporation (“COFINA”), the Puerto Rico Highways and Transportation

  Authority (“HTA”), and the Puerto Rico Electric Power Authority (“PREPA”) (the

  Commonwealth, ERS, PBA, COFINA, HTA and PREPA are collectively referred to as the

  “Debtors”), pursuant to Section 315(b) of the Puerto Rico Oversight, Management, and Economic

  Stability Act (“PROMESA”), retained Citi to serve as investment banker and financial advisor to

  the Oversight Board in connection with the Oversight Board’s duties under PROMESA and its

  task of working with the Commonwealth to create the necessary foundation for economic growth

  and to restore opportunity to the people of the Commonwealth. Through Citi’s expertise in

  municipal finance, capital markets, restructurings, and infrastructure and utility finance, it has

  assisted the Oversight Board in its efforts to restructure the Debtors’ debts, restore their access to

  capital markets, and put them on the path to economic recovery.

         3.      I have been at Citi for more than 25 years and have worked in the “municipal

  market” for more than 35 years, serving as underwriter or advisor to over 200 municipal issuers

  on both revenue and general obligation bonds with a par amount in excess of $30 billion. In

  addition to a bachelor’s degree from Beloit College, I hold a number of professional licenses from

  the Financial Industry Regulatory Authority. These include:

                 (a) General Securities Principal, Series 24;
                 (b) General Securities Representative, Series 7;
                 (c) Municipal Securities Principal, Series 53; and
                 (d) Municipal Securities Representative, Series 52.

         4.      In 2008, I also served as Chairman of the Municipal Executive Committee of the

  Securities Industry and Financial Markets Association (“SIFMA”). During that period, I assisted

  SIFMA in obtaining federal guidance so that municipal governments could restructure outstanding

  auction-rate securities that failed as a result of liquidity challenges facing the municipal market.

  For my work in this role during the financial crisis commencing in 2008, I received the SIFMA

                                                    2
Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                                   Desc: Main
                            Document Page 3 of 7



  2012 Honor Roll Award.

          5.       I have been directly involved in assisting distressed governments, serving as a

  banker to Jefferson County, Alabama in connection with its 2013 sewer refinancing and to Detroit,

  Michigan in connection with its 2014 water and sewer debt restructuring. These two debt

  restructurings were each a significant component of the total debt restructured as part of the largest

  bankruptcies in the history of the municipal market at the time.

          6.       I also was closely involved in the successful restructuring of COFINA’s debt by

  the Oversight Board pursuant to the confirmed Third Amended Title III Plan of Adjustment of

  Puerto Rico Sales Tax Financing Corporation [Case No. 17-3284, ECF No. 561], as the Oversight

  Board’s investment banker.              COFINA’s restructuring reduced COFINA’s debt from

  approximately $17.6 billion to $12 billion in the largest confirmed municipal restructuring in U.S.

  history and reduced debt service payments by over $17 billion.

          7.       With respect to the Commonwealth, I have been in a lead role in all aspects of Citi’s

  engagement, including (i) reviewing the Commonwealth’s certified fiscal plans for accuracy, (ii)

  in conjunction with other Oversight Board advisors, leading negotiations with claimholders

  regarding the provisions of the Commonwealth plan of adjustment, (iii) attending virtually all the

  mediation sessions regarding the Commonwealth’s proposed plan of adjustment, (iv) speaking

  with creditors who were restricted and other market participants after the Plan was publicly

  released regarding the terms of the New GO Bonds 2 and the CVIs to be issued by the

  Commonwealth on the Effective Date pursuant to the Plan, and (v) providing assistance to the

  Oversight Board in drafting financial aspects of the Plan and the Disclosure Statement for the



  2
   Capitalized terms not defined herein shall have the same meanings given them in the Seventh Amended Title III
  Joint Plan of Adjustment of the Commonwealth of Puerto Rico, et al. [Case No. 17-3283, ECF No. 17627] (as
  amended, modified, or supplemented, the “Plan”).

                                                          3
Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                       Desc: Main
                            Document Page 4 of 7



  Seventh Amended Title III Joint Plan of Adjustment of the Commonwealth of Puerto Rico, et al.

  [Case No. 17 BK 3283, ECF No. 17628] (the “Disclosure Statement”).

         8.      I submit this declaration (the “Declaration”) in respect of confirmation of the Plan.

  I am authorized to submit this Declaration on behalf of the Commonwealth, PBA, and ERS. My

  statements set forth in this Declaration are based on my personal knowledge except where I

  reference specific documents or communications as the basis of my statements. In those instances

  where I reference a specific document or communication, the specific document or communication

  either is not being offered to prove the truth of the matter asserted in the statement or, I am

  informed, is otherwise admissible because, for instance, it is a self-authenticating public record or

  can be otherwise authenticated and shown to be admissible. Where my Declaration provides

  opinion testimony, in addition to the above, the opinions set forth herein are based on (i)

  information shared with me by other members of the Citi team working directly with me or under

  my supervision and direction; (ii) additional information of the types generally relied on by others

  who have similar experience and expertise in my field, such as information provided by the

  Oversight Board and its advisors, and other interested parties and their respective advisors,

  concerning the restructuring, and/or (iii) my experience in the industry as described above. If I

  were called upon to testify, I could and would testify competently as to the facts set forth herein.

              Efforts to Obtain Tax Exempt Status for the New GO Bonds and CVIs

         9.      I personally participated in the negotiation of and have reviewed the Amended and

  Restated Plan Support Agreement, dated as of July 12, 2021 (the “GO/PBA PSA”), executed by

  the Oversight Board and certain holders and monoline insurers of Commonwealth general

  obligation (“GO”) and PBA bonds.          As a general matter, the GO/PBA PSA requires the

  Commonwealth to provide a recovery to holders of GO and PBA bonds in part by the issuance of



                                                   4
Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                       Desc: Main
                            Document Page 5 of 7



  New GO Bonds and CVIs. Similarly, I personally participated in the negotiation of and have

  reviewed the HTA/CCDA Related Plan Support Agreement, dated as of May 5, 2021 (the

  “HTA/CCDA PSA”), and the PRIFA Related Plan Support Agreement, dated as of July 27, 2021

  (the “PRIFA Related PSA”), and these two additional plan support agreements provide a recovery

  to certain holders of bonds issued by HTA, CCDA, and PRIFA in the form of CVIs issued by the

  Commonwealth.

         10.     In general, the CVIs will be structured so that payments will be made only if the

  Commonwealth’s sales and use tax (“SUT”) collections outperform certain projections contained

  in the fiscal plan for the Commonwealth certified in May 2020 (the “May 2020 Certified CW

  Fiscal Plan”). The CVIs will be subject to certain annual caps on potential recovery, as well as a

  lifetime cap on total recovery. The GO/PBA PSA, the HTA/CCDA PSA, and the PRIFA Related

  PSA each require the Oversight Board to use its reasonable best efforts to achieve tax exempt

  status for the New GO Bonds and all or a portions of the CVIs to be issued under the Plan.

         11.     As part of my job responsibilities, I keep apprised of the efforts that are being made

  to obtain tax-exempt status for the New GO Bonds. I am aware that Commonwealth advisors and

  employees are engaging in the significant due diligence that is necessary to obtain tax-exempt

  status for the New GO Bonds. Additionally, a request for the U.S. Internal Revenue Service to

  issue a private letter ruling or closing agreement relating to the tax-exempt status of the New GO

  Bonds has been prepared by advisors to the Commonwealth and reviewed and commented on by

  advisors to the Oversight Board.

         12.     I have also been involved in efforts to obtain tax-exempt status for all or a portion

  of the CVIs. Based on my general experience with municipal finance and after discussions with

  the Commonwealth’s advisors, I understand that to obtain tax-exempt status for all or a portion of



                                                   5
Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                         Desc: Main
                            Document Page 6 of 7



  the CVIs, the issuer would need to obtain an expert’s opinion stating, with a high degree of

  certainty, that the amount of SUT collections projected each year will be enough to make payments

  on all or a portion of the CVIs, together with a report providing the underlying computations,

  assumptions and reasoning supporting those projections.

         13.     I reviewed the currently certified fiscal plan for the Commonwealth (the “2021

  Certified CW Fiscal Plan”) and I understand it projects SUT collections will outperform the

  projections contained in the May 2020 Certified CW Fiscal Plan. In an attempt to obtain the

  necessary expert opinion and report, I reached out to Oversight Board advisors that were involved

  in the development of the 2021 Certified CW Fiscal Plan and, specifically, the 2021 Certified CW

  Fiscal Plan’s projection of SUT collection. I was, however, informed by those advisors that the

  SUT projections contained in the 2021 Certified CW Fiscal Plan are the combined product of

  multiple different advisors’ work, and therefore that no individual Oversight Board advisor could

  provide the requisite expert opinion and report.

         14.     The Oversight Board continues to evaluate potential alternatives to obtain tax-

  exempt status for all or a portion of the CVIs.

                          Treatment of Retail GO and PBA Bond Claims
                           and Election Option of Puerto Rico Investors
         15.     The Plan proposes to provide holders of “Retail” GO and PBA Bond claims (which,

  in general terms, is defined in the Plan to include the claims of bondholders who hold, in the

  aggregate, less than $1 million in bond claims against the Commonwealth) with differing treatment

  based upon whether their class votes to accept or reject the Plan. In general terms, if holders of

  claims in Classes 7, 9, 11, 16, 31, 38, 41, 47 vote to accept the Plan, they will receive (a) their pro

  rata share of the bond recovery applicable to their vintage of bond, plus (b) a “Retail Support Fee,”

  which, in general terms, is a share in a cash recovery allocable to Retail Investors (those holding


                                                     6
Case:17-03283-LTS Doc#:18726 Filed:10/25/21 Entered:10/25/21 21:16:53                      Desc: Main
                            Document Page 7 of 7



  less than $1,000,000.00 of bonds) under the GO/PBA PSA, in an amount not to exceed $50 million

  in the aggregate. If such class of holders votes to reject the Plan, however, their class will not

  receive any portion of the Retail Support Fee. In such case, the portion of the Retail Support Fee

  that would otherwise have been allocated to the rejecting class would be reallocated to (i) other

  classes of retail holders’ claims which voted to accept the Plan and (ii) the GO/PBA Restriction

  Fee Creditors (as such term is defined in the Plan).

         16.     The Plan also contains provisions specifying that all Puerto Rico Investors (which,

  in general terms, is defined in the Plan to mean on-island bondholders) whose claims have been

  classified within Classes 15, 16, 23, 30, 31, 34, 36, 38, 40, 41, 44, 46, 47, or 49 can elect to be

  treated in Classes 22, 29, 33, 35, 39, 43, 45, 48, or 50 and, as a result, receive taxable New GO

  Bonds with a higher interest rate, in place of tax-exempt New GO Bonds. As mentioned above,

  while appropriate steps are being taken to obtain tax-exempt status for the New GO Bonds, it

  remains uncertain whether all the New GO Bonds issued pursuant to the Plan will be tax-exempt.

  The taxable election is provided because, unlike mainland U.S. investors, Puerto Rico Investors

  are generally not subject to U.S. federal income taxation, and when Puerto Rico Investors elect

  taxable treatment for their New GO Bonds, it increases the likelihood that a greater amount of tax-

  exempt bonds will be available for mainland U.S. bondholders.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

  United States of America that the foregoing is true and correct to the best of my knowledge,

  information, and belief.


  Dated: October 25, 2021
         New York City, NY
                                                              David M. Brownstein
                                                              Managing Director
                                                              Citigroup Global Markets Inc.

                                                   7
